                     Case 1:15-cv-00701-JWF Document 181-2 Filed 07/05/21 Page 1 of 1
AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                        Western District
                                                       __________        of of
                                                                  District  New  York
                                                                               __________

                         Douglas J. Horn                                       )
                               Plaintiff                                       )
                                  v.                                           )       Civil Action No. 15-CV-701 (FPG)
        Medical Marijuana, Inc., Dixie Elixirs, et al.                         )
                              Defendant                                        )

                                              SUBPOENA TO APPEAR AND TESTIFY
                                           AT A HEARING OR TRIAL IN A CIVIL ACTION

To: Tripp Keber, 2990 S. Clermont Drive, Denver, CO 80222

                                                       (Name of person to whom this subpoena is directed)

         YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: Colorado Boulevard Executive Center                                                  Courtroom No.: Suite 2000
         2000 South Colorado Blvd. Tower #1, Suite 2000
         Denver, CO 80222                                                                   Date and Time: 07/28/2021 10:00 am

          You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):
                   Pursuant to FRCP 43, and subject to Order of the Hon. Jonathan Feldman, to appear and give live
                   testimony for trial .




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:       06/30/2021
                                   CLERK OF COURT
                                                                                               OR

                                                                                                              /s/ Jeffrey Benjamin
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature



The name, address, e-mail address, and telephone number of the attorney representing (name of party)                          Douglas J. Horn
Jeffrey Benjamin, Esq. The Linden Law Group                      , who issues or requests this subpoena, are:
5 Penn Plaza, 23rd Floor
New York, New York 10001 (212) 655-9536

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
